
Creen, J.
delivered the opinion of the court.
This is a suit to recover a penalty for retailing spirituous liquors in the town of Woodbury without license. On the trial, the plaintiff offered to read a paper, purporting to be an ordinance of the town of Woodbury, to the reading of which the defendant objected, but the court overruled the objection, and permitted said paper to be read; the same not having been proved to be the ordinance of said town. In this his Honor, the Circuit Judge, erred. '
It is a well settled principle, that private laws must be proved; that until they are proved, courts do not take notice of them, as they do of public statutes. The charter of a town is a private law, and should be proved. For a much stronger reason, are the by-laws of such corporate town, private laws. They cannot be noticed by the court, simply by the production of the book purporting to contain them. They are evidence of the law, only upon proof that they are the laws of the Corporation.
Reverse the judgment, and remand the cause.
